                                                                                 Case 4:11-cv-01573-DMR Document 73 Filed 04/17/13 Page 1 of 1



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                                                                         6                                     UNITED STATES DISTRICT COURT
                                                                         7                                    NORTHERN DISTRICT OF CALIFORNIA
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                                                                         9    CRAIG YATES,                                         No. C-11-01573 DMR
                                                                         10                   Plaintiff(s),                        ORDER RESETTING PRETRIAL
                                                                                                                                   CONFERENCE AND TRIAL DATE
United States District Court




                                                                         11          v.
                               For the Northern District of California




                                                                         12   BACCO, et al.
                                                                         13               Defendant(s).
                                                                              ___________________________________/
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                                                                         15   TO ALL PARTIES AND COUNSEL OF RECORD:
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                                                                                       Plaintiff’s counsel has asked for a continuance of the pretrial conference and bench trial due
                                                                         17   to a personal scheduling conflict. Defense counsel does not join in the request, but does not object.
                                                                         18   The court finds that there is good cause to alter the schedule as follows. The Pretrial Conference
                                                                              previously scheduled for May 1, 2013 has been reset to June 12, 2013 at 3:00 p.m. The bench trial
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                                                                              previously scheduled for May 14, 2013 has been reset to July 2, 2013 at 8:30 a.m. Both
                                                                         20   proceedings shall take place at the U.S. District Court, 1301 Clay Street, Oakland, California.
                                                                         21   Please check the Court’s on-line calendar at www.cand.uscourts.gov one week prior to the hearing
                                                                              or trial date for the courtroom assignment.
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                                                                                       This order does not affect the other deadlines set forth in the Case Management and Pretrial
                                                                         23   Order [Docket No. 22]. In other words, the April 15, 2013 deadline for filing objections to exhibits,
                                                                         24   deposition excerpts or other discovery, and oppositions to motions in limine has already passed.

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                                                                                     IT IS SO ORDERED.
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                                                                         27   Dated: April 17, 2013
                                                                                                                                   DONNA M. RYU
                                                                         28                                                        United States Magistrate Judge
